                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
 Joseph G. DuMouchelle, and                  Bankruptcy Case No. 19-54531
 Melinda J. Adducci                          Honorable Phillip J. Shefferly
                                             Chapter 7
                     Debtors.

STIPULATION FOR ENTRY OF ORDER ADJOURNING EVIDENTIARY
 HEARING ON FINEMARK NATIONAL BANK & TRUST’S MOTION
          FOR RELIEF FROM THE AUTOMATIC STAY

      NOW COMES Chapter 7 Trustee, Fred J. Dery, (the “Trustee”), FineMark

National Bank & Trust (the “Bank”), and Marty Harrity (“Harrity”) each by and

through their undersigned counsel who do hereby stipulate to the entry of the

attached order.

      Approved as to form and content.

STEVENSON & BULLOCK, P.L.C.                   HAHN LOESER & PARKS LLP

By: /s/ Elliot G. Crowder                     By: /s/ Daniel A DeMarco
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Dated: August 19, 2020
                                              Dated: August 19, 2020




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FRANK & FRANK, PLLC

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Dated: August 19, 2020




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IN THE MATTER OF:
 Joseph G. DuMouchelle, and                   Bankruptcy Case No. 19-54531
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                                              Chapter 7
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   ORDER ADJOURNING EVIDENTIARY HEARING ON FINEMARK
   NATIONAL BANK & TRUST’S MOTION FOR RELIEF FROM THE
                    AUTOMATIC STAY

      THIS MATTER having come before this Honorable Court upon the

stipulation of the parties and the Court being fully advised in the premises;

      NOW THEREFORE;

      IT IS HEREBY ORDERED that the final hearing, which will be an

evidentiary hearing on FineMark National Bank & Trust’s (the “Creditor”) Motion

for Relief from the Automatic Stay shall be and hereby is adjourned from August

27, 2020 at 9:30 am to October __, 2020 at 9:30 am.

      IT IS FURTHER ORDERED that the Creditor and the Trustee must file a

stipulation no later than October __, 2020 that identifies any witnesses they intend

to call at the final hearing and identifies any documents that they intend to introduce

at the final hearing. The Court encourages the parties to stipulate to the admissibility

of documents to the extent possible, reserving only legitimate evidentiary objections

to be made at the hearing.



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      IT IS FURTHER ORDERED that the Court will hold a status conference on

________, 2020 at _______. Because of the Court’s current restrictions caused by

the COVID-19 pandemic, the status conference will be conducted by telephone. The

parties are directed to dial-in for this hearing at 1-888-684-8852, access code

6874938#. At the status conference, the Court intends to confer with the parties

about the logistics for conducting the final hearing remotely by video

      IT IS FURTHER ORDERED that the automatic stay shall remain in full force

and effect with respect to the Creditor’s rights in the subject real property through

the final hearing or further order of the Court.




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